                   Case 2:22-mj-30102-DUTY ECF No. 1, PageID.1
                                                AUSA:   William B. Filed
                                                                   Sloan 02/25/22 Telephone:
                                                                                    Page 1 of   8 226-9100
                                                                                             (313)
AO 91 (Rev. ) Criminal Complaint             Special Agent:         Matthew Rummel (ATF)          Telephone: (313) 202-3400

                                        UNITED STATES DISTRICT COURT
                                                               for the
                                                 Eastern District of Michigan
United States of America                                    Case: 2:22−mj−30102
   v.                                                       Assigned To : Unassigned
Tamarious Faulkner                                          Assign. Date : 2/25/2022
                                                            CMP: SEALED MATTER (MAW)




                                                   CRIMINAL COMPLAINT

           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

           On or about the date(s) of     December 1, 2019 - December 14, 2019    in the county of            Jackson         in the
         Eastern          District of      Michigan        , the defendant(s) violated:
                    Code Section                                                 Offense Description
        18 U.S.C. §§ 371 & 922(j)                       Conspiracy to receive and possess stolen firearms




           This criminal complaint is based on these facts:
See attached affidavit.




✔ Continued on the attached sheet.

                                                                                                Complainant’s signature

                                                                            Matthew Rummel, Special Agent (ATF)
                                                                                           Printed name and title
Sworn to before me and signed in my presence
DQGRUE\UHOLDEOHHOHFWURQLFPHDQV

           February 25, 2022
Date:                                                                                         Judge’s signature

City and state: Detroit, Michigan                                        Hon. Elizabeth A. Stafford, United States Magistrate Judge
                                                                                           Printed name and title
   Case 2:22-mj-30102-DUTY ECF No. 1, PageID.2 Filed 02/25/22 Page 2 of 8




               UNITED STATES DISTRICT COURT
               EASTERN DISTRICT OF MICHIGAN
                              Case: 2:22−mj−30102
UNITED STATES OF AMERICA      Assigned To : Unassigned
                              Assign. Date : 2/25/2022
    v.                        CMP: SEALED MATTER (MAW)
                              UNDER SEAL
TAMARIOUS FAULKNER,

       Defendant.


           AFFIDAVIT IN SUPPORT OF AN APPLICATION FOR
           A CRIMINAL COMPLAINT AND ARREST WARRANT

      I, Matthew Rummel, being first duly sworn, hereby depose and state as

follows:

                    INTRODUCTION AND BACKGROUND

      1.     I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms,

and Explosives (ATF) and have been so employed since September 2014. I am

currently assigned to the Detroit Field Division. Prior to joining the ATF, I was

employed, for approximately eight years, as a State Parole Agent with the

Michigan Department of Corrections (MDOC). During that time, for

approximately four years, I was assigned to a multi-jurisdictional task force made

up of federal, state, and local law enforcement agencies. I have participated in

numerous investigations involving firearms, narcotics trafficking by armed

individuals, fraud, robberies, assaults, homicides, and criminal street gangs. I have


                                          1
    Case 2:22-mj-30102-DUTY ECF No. 1, PageID.3 Filed 02/25/22 Page 3 of 8




been the affiant on numerous federal search warrants and federal criminal

complaints. I have a Bachelor’s degree in criminal justice, and I am a graduate of

the Federal Law Enforcement Training Center Criminal Investigator School and

ATF’s Special Agent Basic Training school.

      2.     This affidavit is based upon information I have gained from my

investigation, my training and experience, and from information provided by law

enforcement officers and others who have personal knowledge of the events and

circumstances described herein. The information set forth in this affidavit is

intended to show merely that there is sufficient probable cause for the requested

complaint and arrest warrant and does not include all the information collected

during this investigation and about which I am aware.

      3.     I submit this affidavit in support of a criminal complaint charging that,

beginning on or about December 1, 2019, and continuing through on or about

December 14, 2019, within the Eastern District of Michigan, the defendant,

Tamarious FAULKNER (D.O.B. XX/XX/1996), knowingly and willfully

combined, conspired, confederated, and agreed with Christopher RUSSELL 1 and

with other persons to commit an offense against the United States—that is, to



1
  A federal grand jury returned a sealed indictment against Christopher RUSSELL
in Case No. 4:21-cr-20292. The government will move to unseal that indictment at
the time the instant complaint is unsealed, after defendant Tamarious FAULKNER
is arrested.

                                          2
   Case 2:22-mj-30102-DUTY ECF No. 1, PageID.4 Filed 02/25/22 Page 4 of 8




receive and possess stolen firearms, which had been shipped and transported in

interstate commerce, knowing and having reasonable cause to believe the firearms

were stolen, in violation of Title 18, United States Code, Section 922(j)—all in

violation of Title 18, United States Code, Section 371.

                               PROBABLE CAUSE

      4.     In December 2019, four Federal Firearms Licensees (FFLs), i.e., gun

stores, in southern Michigan were broken into and burglarized. In total, at least

sixty-four (64) firearms were stolen in these burglaries.

      5.     All of the firearms stolen from the FFLs in these burglaries were

manufactured outside the state of Michigan, and therefore these firearms traveled

in interstate commerce from their point(s) of manufacture to Michigan.

      6.     In connection with the investigation of these FFL burglaries, the ATF

received information from a confidential source (hereinafter “the CS”) regarding

certain FFL burglaries and subsequent sales of stolen firearms. The CS has been

charged with federal criminal charges and began cooperating with law enforcement

to seek consideration for his/her truthful information and potential testimony. The

information provided by the CS that is used in this affidavit has been investigated

and found to be reliable and credible.

      7.     On or about December 1, 2019, Patriots Ammo and Arms, a federally

licensed firearms dealer located at 52122 Van Dyke Avenue, Shelby Township,


                                          3
   Case 2:22-mj-30102-DUTY ECF No. 1, PageID.5 Filed 02/25/22 Page 5 of 8




Michigan, was burglarized and approximately fourteen (14) firearms were stolen.

Four individuals—who are known to law enforcement and who are identified

herein as Co-conspirator 1 (“C-1”), Co-conspirator 2 (“C-2”), Co-conspirator 3

(“C-3”), and Co-conspirator 4 (“C-4”)—committed this burglary and theft,

according to the CS. After the burglary, C-1, C-2, C-3, and C-4 drove from Shelby

Township, Michigan, to Jackson, Michigan. Subsequently, C-1, C-2, and C-3 met

with FAULKNER and RUSSELL at a residence on Oakhill Avenue in Jackson,

Michigan, at which time C-1, C-2, and C-3 sold stolen firearms to FAULKNER

and RUSSELL.

      8.    Approximately one week later, on or about December 8, 2019,

Ralph’s Gun Shop Inc., a federally licensed firearms dealer located at 12542 Leeke

Road, Stockbridge, Michigan, was burglarized and approximately seven (7)

firearms were stolen. C-1, C-2, and C-3 committed this burglary and theft,

according to the CS. After the burglary, C-1, C-2, and C-3 sold stolen firearms to

FAULKNER and RUSSELL at a location in Jackson, Michigan.

      9.    On or about December 11, 2019, Titus Kustoms LLC, a federally

licensed firearms dealer located at 731 S. Grand Avenue, Fowlerville, Michigan,

was burglarized and approximately seventeen (17) firearms were stolen. C-1, C-2,

and C-3 committed this burglary and theft, according to the CS. After the




                                         4
    Case 2:22-mj-30102-DUTY ECF No. 1, PageID.6 Filed 02/25/22 Page 6 of 8




burglary, C-1, C-2, and C-3 sold stolen firearms to FAULKNER and RUSSELL at

a location in Jackson, Michigan.

      10.    On or about December 14, 2019, Semper Fi Guns and Ammo LLC, a

federally licensed firearms dealer located at 148 Mason Street, Addison, Michigan,

was burglarized and approximately twenty-six (26) firearms were stolen. C-1 and

C-3 committed this burglary, according to the CS. After the burglary, C-1 and C-3

sold stolen firearms to FAULKNER and RUSSELL at a location in Jackson,

Michigan. Security camera video footage from a residence located near this

location reflected that two individuals matching the descriptions of FAULKNER

and RUSSELL arrived at the location in a black Jeep Grand Cherokee and then

departed a short time later. At points in time both before and after December 14,

2019, law enforcement observed FAULKNER driving a black Jeep Grand

Cherokee.

      11.    Approximately one year later, on or about December 9, 2020, the ATF

executed a federal search warrant at a residence in Jackson, Michigan, that was

associated with RUSSELL. In a bedroom identified as RUSSELL’s, agents

recovered a Glock, Model 17, 9mm caliber semi-automatic handgun, which was

identified as stolen from Titus Kustoms LLC during the burglary that occurred on

December 11, 2019. When agents recovered the firearm, it had a “switch”

conversion kit affixed to it.


                                         5
   Case 2:22-mj-30102-DUTY ECF No. 1, PageID.7 Filed 02/25/22 Page 7 of 8




      12.   A “switch” is an after-market conversion kit which makes a semi-

automatic handgun function as a fully automatic firearm, i.e., as a machinegun.

Glock switches are considered machineguns and regulated under the National

Firearms Act (NFA).

                                 CONCLUSION

      13.   Based on the foregoing, I respectfully submit there is probable cause

that, beginning on or about December 1, 2019, and continuing through on or about

December 14, 2019, within the Eastern District of Michigan, the defendant,

Tamarious FAULKNER (D.O.B. XX/XX/1996), knowingly and willfully

combined, conspired, confederated, and agreed with Christopher RUSSELL and

with other persons to commit an offense against the United States—that is, to

receive and possess stolen firearms, which had been shipped and transported in




                                         6
   Case 2:22-mj-30102-DUTY ECF No. 1, PageID.8 Filed 02/25/22 Page 8 of 8




interstate commerce, knowing and having reasonable cause to believe the firearms

were stolen, in violation of Title 18, United States Code, Section 922(j)—all in

violation of Title 18, United States Code, Section 371.



                                       Respectfully submitted,


                                By:    _________________________
                                       Matthew Rummel
                                       Special Agent
                                       Bureau of Alcohol, Tobacco, Firearms and
                                       Explosives

Sworn to before me and signed in
my presence and/or by reliable electronic means.

________________________________
HON. ELIZABETH A. STAFFORD
UNITED STATES MAGISTRATE JUDGE
EASTERN DISTRICT OF MICHIGAN

Date:   February 25, 2022




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